           Case 2:04-cr-00026-WBS Document 50 Filed 04/20/05 Page 1 of 2


 1   McGREGOR W. SCOTT
     United States Attorney
 2   DANIEL S. LINHARDT
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2770
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 7
 8                   IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     ) CR. No. S-04-026 WBS
                                   )
12              Plaintiff,         )
                                   ) ORDER RE: GOVERNMENT'S EX PARTE
13        v.                       ) MOTION TO RELEASE COMPUTERS
                                   )
14   SUSAN E. D'ORTA, et al.       )
                                   )
15              Defendants.        )
     ______________________________)
16
17        This matter having come before the Court on an ex parte
18   motion of the United States of America to obtain an Order
19   compelling the San Diego County Sheriff's Department Crime
20   Laboratory Property and Evidence Unit to turn over to the
21   defendants for inspection and downloading the computers seized by
22   the Sheriff's Department from the business of the defendants and
23   the home of defendant Susan D'Orta pursuant to a state search
24   warrant.   The defendants are to return the computers in the same
25   condition in which they received them to the San Diego County
26   Sheriff's Department after they have completed their examination
27   and downloading of such information as they defendants deem
28   appropriate.   The government's motion is hereby granted in order

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           Case 2:04-cr-00026-WBS Document 50 Filed 04/20/05 Page 2 of 2


 1   that it can fulfill its requirements under Rule 16 of the Federal
 2   Rules of Criminal Procedure.
 3   DATED: April 19, 2005
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